      Case: 3:06-cr-00141-wmc Document #: 100 Filed: 04/15/10 Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT

                  FOR THE WESTERN DISTRICT OF WISCONSIN

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

UNITED STATES OF AMERICA,

                           Plaintiff,                                ORDER

             v.                                                 06-cr-141-bbc-02

LISA M. HARDING,

                           Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

      A hearing on the probation office's petition for judicial review of Lisa Harding's

supervised release was held on April 13, 2010, before United States District Judge Barbara

B. Crabb.   The government appeared by Assistant United States Attorney John W.

Vaudreuil. Defendant was present in person and by Supervising Associate Federal Defender

Michael W. Lieberman. Also present was Senior United States Probation Officer Shawn

Robinson.

      From the parties' stipulation and the record I make the following findings of fact.




                                         FACTS

      Defendant was sentenced in the Western District of Wisconsin on November 8,

2006, following her conviction for bank robbery in violation of 18 U.S.C. § 2113(a). This
       Case: 3:06-cr-00141-wmc Document #: 100 Filed: 04/15/10 Page 2 of 4




offense is a Class C felony. Defendant was committed to the custody of the Bureau of

Prisons to serve a term of imprisonment of 55 months, with a three-year term of supervised

release to follow.

       Defendant began the three-year term of supervised release on March 5, 2010. In

anticipation of a delay in her receipt of Social Security disability benefits, on February 3,

2010, defendant's supervised release conditions were modified to include a special condition

requiring defendant to complete up to a 180-day residential reentry center placement.

       On March 5, 2010, defendant began the residential re-entry center placement at Arc

Dayton in Madison, Wisconsin.

       On March 5, 2010, defendant violated Standard Condition No. 1, prohibiting her

from leaving the district without permission, when she traveled to the Northern District of

Ohio without permission. On March 5, 2010, defendant violated Standard Condition

No. 3, requiring her to follow the instructions of the probation officer, when she failed to

remain at Arc Dayton as instructed. On March 5, 2010, she violated Special Condition No.

7, requiring participation in a residential re-entry center placement, when she walked away

from the facility.

       Defendant's conduct falls into the category of Grade C violations.            Section

7B1.3(a)(2) of the advisory guidelines provides that the court has the discretion to revoke

supervised release, extend it or modify the conditions of release upon a finding of a Grade

C violation.

                                             2
      Case: 3:06-cr-00141-wmc Document #: 100 Filed: 04/15/10 Page 3 of 4




                                      CONCLUSIONS

       Defendant was on supervised release for less than one day when she walked away

from Arc Dayton, left Wisconsin, and absconded from supervision. Her violations warrant

revocation.

       Defendant’s criminal history category is IV. With Grade C violations, defendant has

an advisory guideline range of imprisonment of 6 to 12 months. The statutory maximum

to which defendant can be sentenced upon revocation is 24 months, under 18 U.S.C. §

3583(e)(3), which provides that a person whose term of supervised release is revoked may

not be required to serve more than two years if the offense for which defendant was

sentenced previously was a Class C felony.

       After reviewing the non-binding policy statements of Chapter 7 of the Sentencing

Guidelines, I have selected a sentence at the top of the guideline range. The intent of this

sentence is to take into account defendant's personal history and non-compliant behavior

that began on her initial day of supervision. This sentence is also intended to provide specific

deterrence and protection of the community.




                                           ORDER

       IT IS ORDERED that the period of supervised release imposed on defendant on

November 8, 2006, is REVOKED and defendant is committed to the custody of the Bureau

of Prisons for a term of 12 months and one day. No supervision shall follow.

                                               3
      Case: 3:06-cr-00141-wmc Document #: 100 Filed: 04/15/10 Page 4 of 4




       Defendant does not have the financial means or earning capacity to pay the cost of

her incarceration.

       Entered this 13th day of April 2010.

                                         BY THE COURT:


                                         ___________________________________
                                         BARBARA B. CRABB
                                         Chief District Judge




                                              4
